                      IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                          CASE NO. 3:24-CV-585-MOC-DCK

 INVUE SECURITY PRODUCTS, INC.,                   )
                                                  )
                 Plaintiff,                       )                     ORDER
                                                  )
    v.                                            )
                                                  )
 YAN TOKAR,                                       )
                                                  )
                 Defendant.                       )
                                                  )

         THIS MATTER IS BEFORE THE COURT on “Plaintiff InVue Security Products,

Inc.’s Consent Motion To Seal Defendant Yan Tokar’s Amended Answer And Counterclaim To

Plaintiff’s Verified First Amended Complaint (ECF No. 18)” (Document No. 26) filed October 4,

2024. This motion has been referred to the undersigned Magistrate Judge pursuant to 28 U.S.C. §

636(b), and immediate review is appropriate. Having carefully considered the motion and the

record, the undersigned will grant the motion.

         A party who seeks to seal any pleading must comply with the Local Rules of this Court.

Local Civil Rule(“LCvR”) 6.1 provides in relevant part as follows:

         LCvR. 6.1     SEALED FILINGS AND PUBLIC ACCESS.

                (a)     Scope of Rule. To further openness in civil case
                proceedings, there is a presumption under applicable common law
                and the First Amendment that materials filed in this Court will be
                filed unsealed. This Rule governs any party’s request to seal, or
                otherwise restrict public access to, any materials filed with the Court
                or used in connection with judicial decision- making. As used in
                this Rule, “materials” includes pleadings and documents of any
                nature and in any medium or format.

                (b)    Filing under Seal. No materials may be filed under seal
                except by Court order, pursuant to a statute, or in accordance with a
                previously entered Rule 26(e) protective order.




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               (c)     Motion to Seal or Otherwise Restrict Public Access. A
               party’s request to file materials under seal must be made by formal
               motion, separate from the motion or other pleading sought to be
               sealed, pursuant to LCvR 7.1. Such motion must be filed
               electronically under the designation “Motion to Seal.” The motion
               must set forth:

                      (1)     A non-confidential description of the
                      material sought to be sealed;
                      (2)     A statement indicating why sealing is
                      necessary and why there are no alternatives to filing
                      under seal;
                      (3)     Unless permanent sealing is sought, a
                      statement indicating how long the party seeks to have
                      the material maintained under seal and how the
                      matter is to be handled upon unsealing; and
                      (4)     Supporting statutes, case law, or other
                      authority.

LCvR 6.1.

        Having considered the factors provided in LCvR 6.1(c), the Court will grant the motion to

seal.

        IT IS, THEREFORE, ORDERED that “Plaintiff InVue Security Products, Inc.’s Consent

Motion To Seal Defendant Yan Tokar’s Amended Answer And Counterclaim To Plaintiff’s

Verified First Amended Complaint (ECF No. 18)” (Document No. 26) is GRANTED. Document

No. 18 shall be SEALED and remain under SEAL until otherwise ordered by this Court.

        IT IS FURTHER ORDERED that the Clerk of Court shall create a separate, publicly

available, entry on the docket for Defendant’s redacted “...Amended Answer And Counterclaim

To Plaintiff’s Verified First Amended Complaint” (Document No. 27-1).

        SO ORDERED.
                               Signed: October 7, 2024




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